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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 NATIONAL ASSOCIATION FOR GUN
 RIGHTS, ROBERT C. BEVIS, and LAW
 WEAPONS, INC., d/b/a LAW WEAPONS &
 SUPPLY, an Illinois corporation,

                            Plaintiffs,                       Case No. 1:22-cv-04775

 v.                                                           Hon. Virginia M. Kendall

 CITY OF NAPERVILLE, ILLINOIS, and
 JASON ARRES,

                            Defendants.



      CITY OF NAPERVILLE AND JASON ARRES’ RESPONSE IN OPPOSITION TO
        PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
                         PRELIMINARY INJUNCTION

         Plaintiffs’ motion seeks a TRO preventing Naperville’s Police Chief, Jason Arres, from

enforcing the Protect Illinois Communities Act, HB 5471—the comprehensive statute adopted by

the State of Illinois on January 10, 2023, concerning assault weapons and large capacity

magazines. Plaintiffs’ motion fails on procedural, legal and factual grounds. As set forth at oral

argument and in more detail below, Plaintiffs’ Motion for TRO and Preliminary Injunction should

be denied. 1

         Plaintiffs’ motion ignores that nearly identical prohibitions on the sale of such weapons

have been found constitutional in the Seventh Circuit and other circuits across the country. The

Seventh Circuit held in Friedman v. City of Highland Park that a municipal’s ban on assault

weapons and large capacity magazines (sale, possession and ownership) was constitutional.


1 Naperville’s Ordinance is attached as Ex. B. Naperville previously filed a motion opposing Plaintiffs’ Motion For
Temporary Restraining Order And Preliminary Injunction filed attacking the Ordinance. Dkt. 12.


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Friedman is binding precedent, and Plaintiffs cite nothing that says otherwise. Despite Plaintiffs’

contention, Friedman has not been abrogated by the Supreme Court’s decision in New York State

Rifle and Pistol Association v. Bruen, 521 U.S. 898 (2022). In fact, while the Bruen decision lists

a series of cases ostensibly abrogated by its holding, Friedman is not among them.

       Because of the problems with their constitutional arguments, Plaintiffs will not succeed on

the merits. Plaintiffs also cannot establish any irreparable harm that demands this Court

immediately enjoin HB5471 in its entirety given that only the prohibition on the sale of assault

weapons took immediate effect and the remainder of HB5471 will not take effect until January 1,

2024. In fact, Plaintiffs’ “irreparable harm” argument focuses solely on Plaintiff Robert Bevis and

his corporation Law Weapons, Inc. because “[t]he State Law prohibits or soon will prohibit us

from exercising their Second Amendment rights . . . .” Decl. of Robert Bevis, at ¶ 5, Dkt. 10 at 4.

Additionally, in oral argument, Plaintiffs’ counsel noted that Bevis’ inability to sell the prohibited

assault weapons constituted irreparable harm. The absence of a preliminary injunction will not

stop Bevis or his store from selling firearms generally, nor will it deprive Bevis from exercising

his Second Amendment right to arm himself in self-defense. He may still lawfully sell firearms

that fall outside the scope of the HB5471. See Exhibit C, HB5471, 102nd Gen. Assembly (Ill.).

Because an adequate alternative “can be had,” “the lack of an injunction does not lead to

irreparable harm.” Second City Music, Inc. v. City of Chicago, 333 F.3d 846, 850 (7th Cir. 2003)

(affirming denial of preliminary injunction in First Amendment case because plaintiff had not

shown an irreparable harm).

       Even if Plaintiffs could establish the elements necessary for emergency injunctive relief,

the balance of hardships tip in Defendants’ favor. Any alleged hardships to Plaintiffs are clearly

avoidable. Defendants, on the other hand, have a compelling interest in protecting the public within




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its jurisdictional limits from the horrible risk of assault weapons. HB5471 was passed by a publicly

elected legislature and is a legitimate exercise of the State’s police power to regulate behavior for

the betterment of its citizens health and safety. Plaintiffs allege no harm that would justify, in the

absence of a fully-developed record, upending a democratically-enacted law. The balance of

hardships favors Naperville and the State of Illinois, and Plaintiffs’ Motion should be denied.

                                        FACTUAL BACKGROUND

         Because the Court is familiar with the core factual issues in this case, Defendants describe

here only those new elements introduced by Plaintiffs’ attack on the Protect Illinois Communities

Act, HB 5471. Specifically, on January 10, 2023, Governor Pritzker signed the Act into law

immediately banning the commercial sale of assault weapons and, beginning January 1, 2024,

banning the possession, use, delivery, and manufacture of assault weapons and large capacity

magazines. 2 In doing so, Illinois joined multiple states and municipalities with similar bans. In all,

approximately 30 percent of the United States population lives under the safety of bans of these

highly dangerous weapons and accessories.

         HB5471, the portion of the Act specifically banning assault weapons in Illinois, is attached

as Ex. C. 3 Under, HB5471, it is illegal in Illinois to manufacture, deliver, sell, import, or purchase”



2 HB5471’s definition of assault weapons is similar to that of the Naperville Ordinance. HB5471’s definition of
“large capacity ammunition feeding device” is “(1) a magazine, belt, drum, feed strip, or similar device that has a
capacity of, or that can be readily restored or converted to accept, more than 10 rounds of ammunition for long guns
and more than 15 rounds of ammunition for handguns; or (2) any combination of parts from which a device
described in paragraph (1) can be assembled.” See Ex. C.
3 Under HB5471, and as previously noted, every ban on the possession, ownership, or use of assault weapons in
Illinois will not take effect until January 1, 2024 making Plaintiffs’ motion irrelevant for every aspect of HB5471
except the immediate statewide prohibition on the sale of assault weapons, which Defendants address. See Ex. C
(“[B]eginning January 1, 2024, it is unlawful for any person within this State to knowingly possess an assault
weapon, assault weapon attachment, .50 caliber rifle, or .50 caliber cartridge.”). On the other hand, the ban of sale of
assault weapons takes effect immediately. See id. (“[O]n or after the effective date of this amendatory Act of the
102nd General Assembly, it is unlawful for any person within this State to knowingly manufacture, deliver, sell,
import, or purchase or cause to be manufactured, delivered, sold, imported, or purchased by another, an assault
weapon, assault weapon attachment, .50 caliber rifle, or .50 caliber cartridge.”


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any “assault weapon, assault weapon attachment, .50 caliber rifle, or .50 caliber rifle.” 720 ILCS

5/24-1.9. The law defines “assault weapon” in great detail. See Ex. C at p. 84-93 or 720 ILCS 5/24-

1.9(a)(1).

        Under the Act, Illinois exercised its police power to address the public safety threats posed

by assault weapons. While HB5471 was passed in reaction to the devastating Highland Park

parade, it is a reaction to mass shootings across the country in Uvalde, Texas; Buffalo, New York;

El Paso, Texas; Pittsburgh, Pennsylvania; Parkland, Florida; Sutherland Springs, Texas; Las

Vegas, Nevada; San Bernadino, California; Orlando, Florida; and Newtown, Connecticut. As the

full record will establish, in each of these mass shootings, the gunman used an assault weapon

covered by HB5471 to kill multiple people.

                                          ARGUMENT

        Temporary restraining orders and preliminary injunctions are “extraordinary and drastic”

remedies. See, e.g., Mazurek v. Armstrong, 520 U.S. 968, 972 (1997); Roland Mach. Co. v. Dresser

Indus., Inc., 749 F.2d 380, 389 (7th Cir. 1984) (“[G]ranting of a preliminary injunction is an

exercise of a very far-reaching power, never to be indulged in except in a case clearly demanding

it.”); Pozo v. Hompe, 2002 WL 32357081, at *2 (W.D. Wis. July 30, 2002) (“[T]emporary

restraining orders are disfavored because they deprive the opposing parties of the opportunity to

respond to the movant's allegations.”). Courts must carefully scrutinize any request for either form

of relief.

        Under controlling law, movants must demonstrate, “by a clear showing,” the following

four elements: “(1) they have a reasonable likelihood of success on the merits; (2) no adequate

remedy at law exists; (3) they will suffer irreparable harm which, absent injunctive relief,

outweighs the irreparable harm the respondent will suffer if the injunction is granted; and (4) the

injunction will not harm the public interest.” E.g., Goodman v. Illinois Dep't of Fin. & Pro. Regul.,


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430 F.3d 432, 437 (7th Cir. 2005) (emphasis in original). Plaintiffs, however, ask this Court to

ignore clear, binding authority and fashion a new standard under which the “the analysis begins

and ends with the likelihood of success on the merits” in cases relating to firearms regulations. See

Dkt. 50 at 5. In other words, they manufacture a standard that excises three of the four elements

they are required to prove. But even under their own proffered test, Plaintiffs’ Motion fails because

they cannot establish a likelihood of success on the merits. For this reason alone, the Court should

deny Plaintiffs’ Motion.

A.      Plaintiffs’ Motion is Premature Because FRCP 5.1 Has Not Been Satisfied

        This Motion is improperly before the court because Rule 5.1 has not been satisfied. Rule

5.1 requires that a pleading involving a constitutional question must: (1) provide notice to the

government and the court of the specific constitutional issue involved; (2) the constitutional issue

must then be certified by the court; and (3) the government must then be afforded an opportunity

to intervene and to assert the fundamental interests of its citizens under 28 U.S.C. § 2403.

Plaintiffs completed the first step on January 24, 2023 (Dkt. 49), and this Court completed the

second step on January 30, 2023. However, under Rule 5.1, “the attorney general may intervene

within 60 days after the notice is filed or after the court certifies the challenge, whichever is

earlier.” Therefore, the Illinois attorney general has 60 days from January 24, 2023 (March 25,

2023) to intervene in this litigation. Until Rule 5.1 is fully satisfied, litigation attacking

HB5471—including litigation on this motion—is improperly before the court. Plaintiffs could

have avoided this procedural delay by simply adding the State of Illinois or a state actor as a

defendant. They chose not to do so. 28 U.S.C. §2403 and Rule 5.1(b) provide critical protections

for the government in the event Plaintiffs seek to bypass their interests as Plaintiffs have done

here.




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B.      Plaintiffs Do Not Have a Likelihood of Success on the Merits.

           The Seventh Circuit has explicitly ruled that a ban on the commercial sale of assault

weapons does not violate the Second Amendment. In Friedman v. City of Highland Park, the

Seventh Circuit upheld a prohibition that banned the sale, transfer, manufacture, and ownership of

assault weapons. Friedman v. Cty. of Highland Park, Ill., 784 F.3d 406 (7th Cir. 2015). Plaintiffs’

reliance on the recent Supreme Court decision in Bruen does not affect the analysis. Bruen did not

concern the sale of assault weapons and, like Friedman, relied on Heller. Even if the Court finds

Bruen does affect this analysis, HB5471 survives under the text-and-history standard established

by the Bruen court. Plaintiffs cite no case that confers a constitutional right to sell or even own

assault weapons like those contemplated in the State law. Plaintiffs cannot succeed on the merits

and their Motion should be denied.

     1. Illinois HB5471 Comports with the Second Amendment Under Both Heller and
        Friedman.

           Plaintiffs flatly ignore controlling law that prohibitions like HB5471 on the sale, transfer,

manufacture, ownership, and possession of assault weapons are constitutional. While the Supreme

Court in Heller recognized a limited constitutional right to handguns for self-defense in the home,

it made clear that “[l]ike most rights, the right secured by the Second Amendment is not unlimited.”

D.C. v. Heller, 554 U.S. 570, 626–27 (2008). Notably, the Court explicitly left open the ability for

municipalities to regulate the commercial sales of arms. Id. (“Nothing in our opinion should be

taken to cast doubt on . . . laws imposing conditions and qualifications on the commercial sale of

arms.”).

        Heller carefully explained that the Second Amendment does not guarantee “a right to keep

and carry any weapon whatsoever in any manner whatsoever and for whatever purpose.” Id. at

626. Rather, “the Second Amendment right . . . extends only to certain types of weapons.” Id. at



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623. Since Heller was decided, Courts of Appeals have uniformly rejected claims that state and

local bans on ownership of assault weapons violate the Second Amendment. See Wilson, 937 F.3d

1028 (7th Cir. 2019); Worman v. Healey, 922 F.3d 26 (1st Cir. 2019) (same); Heller v. District of

Columbia, 670 F.3d 1244 (D.C. Cir. 2011).

         In Friedman, the Seventh Circuit relied on Heller to uphold Highland Park’s ban on the

sale, transfer, manufacture, or ownership of assault weapons and large capacity magazines. Similar

to Illinois, Highland Park passed its ordinance to “address the potential threat of mass shooting

involving semi-automatic weapons.” See Friedman v. City of Highland Park, 68 F. Supp. 3d 895,

897 (N.D. Ill. 2014), aff’d 784 F.3d 406 (7th Cir. 2015). After establishing a full record, the District

Court granted Highland Park’s summary judgment and ruled the ordinance should remain in full

force. Friedman, 68 F. Supp. 3d at 909. The Friedman holding is fatal to Plaintiffs’ claim. Plaintiffs

do not confront that the Friedman Court conducted a similar historical analysis as the one Plaintiffs

demanded, but reached the opposite conclusion. See generally Dkt. 50. Applying Heller, the

Seventh Circuit queried whether (1) the banned weapons were “common at the time of ratification

[of the Second Amendment] or those that have ‘some reasonable relationship to the preservation

or efficiency of a well-regulated militia,’” and (2) whether “law-abiding citizens retain adequate

means of self-defense.” Id. at 410 (quoting Heller, 544 U.S. at 622–25). 4 Bruen has not abrogated

Friedman because Friedman did not apply the means-end test Bruen held was inconsistent with

Heller. See Bruen, 142 S. Ct. at 2129, (“[T]he Courts of Appeals’ second step is inconsistent with

Heller’s historical approach and its rejection of means-end scrutiny.”). Instead of applying the

means-end test, Friedman rooted its analysis in Heller. See Friedman, 784 F.3d at 410 (declining


4 In their Motion, Plaintiffs apply a similar Heller analysis, which they claim the Supreme Court “reaffirmed” in New
York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). See Motion at 6-8 (asking the Court to apply a
test “based on historical practice and the historical understanding of the scope of the right, but with reference to modern
realities of firearm ownership.”).


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to “decide what level of scrutiny applies”).

        In fact, the dissenting opinion in Friedman specifically criticize the majority for not using

the means-end test. See id. at 415 (Manion, J., dissenting) (arguing that the court should “assign a

level of scrutiny . . . and determine whether the regulation survives such scrutiny”). Friedman

applied the test the Bruen Court kept intact. See Bruen, 142 S. Ct. at 2127 (“Step one of the

predominant framework is broadly consistent with Heller, which demands a test rooted in the

Second Amendment's text, as informed by history.”). Unless Plaintiffs argue that Bruen abrogated

Heller (which they do not), Friedman remains good law and is binding precedent. Reiser v.

Residential Funding Corp., 380 F.3d 1027, 1029 (7th Cir. 2004) (“[D]istrict judges must follow

the decisions of this court whether or not they agree.”).

        Ezell v. City of Chicago, decided before Friedman, is similarly unavailing. Ezell v. City of

Chicago, 651 F.3d 684, 689–90 (7th Cir. 2011). Ezell did not concern a ban on assault weapons

and the Seventh Circuit has subsequently held that Friedman fits comfortably with Ezell. See

Wilson v. Cook Cnty., 937 F.3d 1028, 1036 (7th Cir. 2019) (holding that Cook County’s ban on

the sale and possession of assault rifles is constitutional). Moreover, Ezell relied on the two-step

approach Plaintiffs argue is now abrogated by Bruen. Plaintiffs cannot have it both ways. 5

Ultimately, Plaintiffs cite no case that supports a Second Amendment right to sell, own, or possess

assault weapons. Their claim is unlikely to succeed on the merits and a TRO is improper on that

basis alone.

    2. Bruen’ Approach to the Second Amendment Supports Illinois HB5471



5 At the January 27, 2023 hearing, Plaintiffs cited two cases, Drummond v. Robinson Twp., 9 F.4th 217 (3d Cir.
2021) and Staples v. United States, 511 U.S. 600 (1994) arguing both cases supporting their argument that a
categorical ban of assault weapons must be unconstitutional. Neither is applicable. Drummond simply held that
Heller does not automatically exempt all gun sales bans from Second Amendment scrutiny. Staples is a case about
the mens rea required to convict under the National Firearms Act and has nothing to do with the Second Amendment
jurisprudence. Both are irrelevant.


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       Neither prong of the two-part test established in Heller and affirmed by Bruen supports

Plaintiffs’ constitutional challenge here. In Bruen, the Supreme Court’s analysis of the Second

Amendment challenge “centered on constitutional text and history.” Id. at 2128–29. Under this

approach, “[w]hen the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct.” Id. at 2129–30. The burden then shifts to the

government authority to establish that a given restriction is consistent with historical limitations

on firearms. Critically, the Supreme Court has split the burden of proof in Second Amendment

cases between the parties. Challengers bear the burden at the first step, and the government bears

the burden at the second step. Plaintiffs here proceed as if they have no burden at either step. See

Mot. 5–10. But the Supreme Court was clear: It shifted the burden of proof to the government only

for step two. Bruen, 142 S. Ct. at 2130. As a result, the general rule applies at step one: “As the

party challenging the statutory [] scheme,” the plaintiff “bears the burden of demonstrating its

unconstitutionality,” and “statutes [are] presumed constitutionally.” Lujan v. G & G Fire

Sprinklers, Inc. 523 U.S. 189, 198 (2001).

                   a. Plaintiff’s Burden

       Bruen first requires Plaintiffs to establish that the weapons in question are “Arms”

protected by the Second Amendment. Only weapons “in common use” that are not “dangerous

[or] unusual” are protected. Heller, 554 U.S. at 627 (citing 4 Blackstone 148–49 (1769)). Plaintiffs

must satisfy both standards. On the merits, Plaintiffs will not likely carry their burden as to either.

       Plaintiffs have not demonstrated that assault weapons are “in common use” as that term

was understood at the time of the Founding. According to the plain term of the Supreme Court’s

Second Amendment precedents, the test for Second Amendment protection of a particular weapon




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is common use, not common ownership. 6 Tellingly, Plaintiffs point to no evidence, such as survey

data or studies, showing that assault weapons are used frequently in self-defense or have ever been

needed to engage in effective self-defense. 7 Plaintiffs instead argue that firearms subject to

HB5471 are in common use because of their popularity, quoting statistics of the number of these

firearms sold in recent years. See Motion at 15–16 (“The AR-15 is America’s ‘most popular semi-

automatic rifle,’” quoting Heller II, 670 F.3d at 1287(citation omitted). The phrase “in common

use” as used in Heller and McDonald does not simply refer to a weapon’s prevalence in society,

or the quantities manufactured or sold. Relying solely on “how common a weapon is at the time

of litigation” would be “circular,” because commonality depends in part on what the law allows.

Friedman, 784 F.3d at 409. For example, machine guns were “all too common” during Prohibition,

but that did not immunize them from heavy regulation and an eventual ban on the grounds they

were military-grade weapons. Id. at 408–09; see also Worman v. Healey, 922 F.3d 26, 35 n.5 (1st

Cir. 2019) (noting that “measuring ‘common use’ by the sheer number of weapons lawfully owned

is somewhat illogical”).

         Plaintiffs provide no evidence for the Court to conclude assault weapons are “in common

use,” let alone in “common use” for lawful individual self-defense. Out of the 462 million firearms

in circulation nationwide, only 24 million (5%) were assault weapons in circulated circulation in

the United States. Ex. G, Klarevas’ Highland Park Decl. ¶ 13. 8 And unlike handguns, which are


6 The Second Amendment protects only those weapons that are “‘in common use at the time’ for lawful purposes
like self-defense.” Heller, 554 U.S. at 624 (emphasis added) (quoting United States v. Miller, 307 U.S. 174, 179
(1939)); see also Bruen, 142 S. Ct. at 2134 (referencing whether the subject “weapons [are] ‘in common use’ today
for self-defense” (quoting Heller, 554 U.S. at 627)). This “important limitation on the right to keep and carry arms,”
recognized in Heller, remains a critical limitation on the Second Amendment following Bruen. See id. at 2162
(Kavanaugh, J., concurring).
7 In fact, an FBI database covering 2000–2021 reflects defensive use of an assault weapon in only 0.2% of active
shooter incidents. Klarevas’ Highland Park Decl. ¶ 25.
8 Defendants attach the Wilson Declaration, Ex. A, which attaches several expert declarations from Goldman v. City




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owned broadly across the country, ownership of assault weapons is highly concentrated—less than

2% of the current population of approximately 333 million Americans own an assault weapon. Id.

¶ 27. 9

          Plaintiffs have similarly not demonstrated that assault weapons are not “dangerous [or]

unusual,” ignoring entirely the “dangerous” component of this test. On the other hand, evidence

exists that assault weapons, including those contemplated by HB5471, are highly dangerous and

used to commit mass murder all too often. Assault weapons have been used in the majority of mass

shootings in America. Ex. G, Klarevas’s Highland Park Decl. ¶¶ 11–23. The mass shootings with

the most deaths in recent years—including the Fourth of July Highland Park Parade shooting—

were carried out with assault weapons. See Ex. L, Mass Shootings Involving Assault Weapons. 10

Unsurprisingly, assault weapons are preferred by mass murders, as they are the “perfect killing

machine” designed to kill as many people as possible in as short a time as possible. Ex. D,

Andrew’s Highland Park Decl., ¶ 34, n.40. Accordingly, assault weapons are not “in common use

for self-defense” nor are they commonly accepted. Instead, assault weapons clearly fall into

Blackstone’s definition of dangerous or usual weapons as ones that are used to “terroriz[e] the

good people of the land.” Blackstone’s Commentaries on the Laws of England (1769).

          Plaintiffs have not met their constitutional burden under Heller and Bruen. They have not

demonstrated that assault weapons are “in common use,” nor have they that demonstrated assault



of Highland Park, Case No. 1:22-cv-04774 (N.D. Ill.) and Miller v. Bonta, Case No. 3:19-cv-01537-BEN-JLB (S.
D. Cal.), cases involving similar Bruen and Second Amendment issues, in support of its motion. These expert
declarations are labeled Exhibits D–K.
9 For population and household data, see e.g., U.S. Census Bureau, https://www.census.gov/
10 Number of victims of the worst mass shootings in the United States between 1982 and May 2022, Statista (2022),
https://www.statista.com/statistics/476101/worst-mass-shootings-in-the-us/; Abadi et al., The 30 Deadliest Mass
Shootings in Modern US History Include Buffalo and Uvalde, Bus. Insider (May 26, 2022),
https://www.businessinsider.com/deadliest-mass-shootings-in-us-history-2017-10; Follman et al., US Mass
Shootings, 1982–2022: Data From Mother Jones’ Investigation, Mother Jones (Nov. 23, 2022),
https://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-data/.


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weapons are not “dangerous [or] unusual,” ignoring entirely the “dangerous” component of this

test. The Court should end its analysis at step one and deny Plaintiffs’ motion.

                      b. Defendants’ Burden

         Even if Plaintiffs could meet their burden at step one, Defendants have more than met their

burden at step two to justify HB5471. Under Bruen’s text-and-history standard, if a firearm

regulation falls within the plain text of the Second Amendment, the Court must then determine

whether the regulation is consistent with the “historical traditional” of such regulations. Thus, even

if Plaintiffs could meet their burden that limitations on the commercial sale of assault rifles is

governed by the text of the Second Amendment, HB5471 would still be constitutionally valid

because its prohibition is consistent with the Nation’s tradition of regulating “dangerous [or]

unusual weapons.” Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 627).

         Historically, governments have retained substantial latitude in enacting restrictions on

certain weapons deemed to be susceptible to criminal misuse and to pose significant dangers to

the public—from trap guns to certain knives, blunt objects, and pistols—provided that law-abiding

citizens retained access to traditional arms for effective self-defense. Governments have regulated

weapons in this way throughout our Nation’s history, including when the Second and Fourteenth

Amendments were ratified. As counsel for Mr. Heller acknowledged during oral argument, the

Second Amendment “always coexisted with reasonable regulations of firearms.” Adam Winkler,

Gunfight: The Battle Over the Right to Bear Arms in America 221 (2011). 11 In fact, since our

founding, American governments have exercised broad police powers to limit access to and use of




11 Naperville incorporates by reference its supplemental brief filed on December 18, 2023 (Dkt. 34). While the
supplemental brief was filed in response to Plaintiffs’ first TRO against the Ordinance, Defendants maintain that the
same historical analysis conducted in the supplemental briefing supporting a finding that the Ordinance was
constitutional now supports a finding that the State’s prohibition on the sale of assault weapons under HB5471 is
constitutional.


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certain types of weapons deemed especially dangerous. As historian Saul Cornell explains, the

“dominant understanding of the Second Amendment and its state constitutional analogues at the

time of their adoption in the Founding period forged an indissoluble link between the right to keep

and bear arms with the goal of preserving the peace.” Ex. K, Cornell Bonta Decl. ¶ 9. 12 For

example, dangerous weapons in the 18th century—such as Bowie knives and trap guns—were

widely banned as the new technology for those weapons emerged. Ex. J, Spitzer’s Highland Park

Decl. ¶¶ 82–85, 61–71. Thus, government regulations of dangerous arms have been

unquestionably permitted, even though the text of the Second Amendment provides that the right

to keep and bear arms “shall not be infringed.” Bruen, 142 S. Ct. at 2126 (citing Konigsberg v.

State Bar of Cal., 366 U.S. 36, 49 n.10 (1961)). Indeed, the Supreme Court has recognized that

governments have had the power to regulate “dangerous [or] unusual weapons” since at least the

time of Blackstone. Heller, 554 U.S. at 627 (citing 4 Blackstone 148–49 (1769)).

         HB5471 does not contradict this historical record: State and local governments have always

been extended wide latitude to protect public safety. Illinois’ law is therefore consistent with a

local government’s general powers to regulate conduct within its borders. See, e.g., Maum

Meditation House of Truth v. Lake County, Ill., 55 F.Supp.3d 1081, 1088–89 (N.D. Ill. July 16,

2014) (“In general, zoning ordinances imposing restrictions on use and occupation of private land

... satisfy the rational basis test.”); Jucha v. City of N. Chicago, 63 F. Supp. 3d 820, 829–30 (N.D.

Ill. 2014) (First Amendment protection of tattoos, as speech, does not mean that cities cannot




12 On Founding-era conceptions of liberty, see John J. Zubly, The Law of Liberty (1775). The modern terminology
to describe this concept is “ordered liberty.” See Palko v. Connecticut, 302 U.S, 319, 325 (1937). For a more recent
elaboration of the concept, see generally James E. Fleming & Linda C. Mcclain, Ordered Liberty: Rights,
Responsibilities, and Virtues (Harvard University Press, 2013). On Justice Cardozo and the ideal of ordered liberty,
see Palko v. Connecticut, 302 U.S, 319, 325 (1937); John T. Noonan, Jr., Ordered Liberty: Cardozo and the
Constitution, 1 Cardozo L. Rev. 257 (1979); Jud Campbell, Judicial Review, and the Enumeration of Rights, 15
GEO. J. L. & Pub. Pol’y 569 (2017).


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regulate tattoo parlors.). Plaintiffs are not likely to succeed on the merits and their Motion should

be denied.

C.       Plaintiffs will not suffer irreparable harm if the Ordinance goes into effect.

         Plaintiffs claim HB5471 will cause irreparable harm because it deprives Plaintiffs of a

constitutional right. This claim is defective. LWI does not have a protected right to sell assault

weapons. Heller, 554 U.S. at 626–27. Nor will Plaintiffs suffer a constitutional injury from its

enforcement. 13 Recognizing this, Plaintiffs ask the Court to adopt a standard for evaluating

requests for emergency injunctive relief that would contravene binding precedent.

         In doing so, Plaintiffs ask the Court to ignore the controlling standard for evaluating

requests for emergency relief and presume that they have been injured under HB5471. But in

support, they offer nothing to support this alleged injury. Rather, Plaintiffs lean heavily on cases

that have nothing to do with firearms and ask this court to presume injury. See Mot. at 4-6. And

Ezell and Bruen, the two firearms-related cases Plaintiffs cite, are distinguishable. Neither support

Plaintiffs’ proposed standard, which the Court should reject.

         Unable to show irreparable harm, Plaintiffs argue that they need not, citing cases holding

that an alleged loss of First or Second Amendment rights can sometimes be presumed to cause

irreparable harm. See Mot. 4–5. But no authority has ever held that such a presumption applies to

any purported rights to sell assault weapons. See Ditton v. Rusch, 2014 WL 4435928, at *5 (N.D.

Ill. Sept. 9, 2014) (“injury to constitutional rights does not a priori entitle a party to a finding of

irreparable harm”).

         Plaintiffs offer no other support for their contention that a presumption of irreparable harm


13 LWI’s previous conclusory statement that it will “go out of business” (Decl. of Robert Bevis, Dkt. 10 at ¶ 5) if the
Ordinance is enforced does not justify granting preliminary injunctive relief either. The company offers no information
about potential lost sales or profits, which precludes it from making a “clear showing” that it will be irreparably
harmed.


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should apply in cases involving regulations of commercial sales of assault weapons. See Heller,

544 U.S. at 626–27 (“Nothing in our opinion should be taken to cast doubt on . . . laws imposing

condition and qualifications on the commercial sale of arms.”); Bruen, 142 S. Ct. at 2157 (Alito,

concurring) (“Our holding decides nothing about who may lawfully possess a firearm or the

requirements that must be met to buy a gun. Nor does it decide anything about the kinds of weapons

that people may possess.”). Plaintiffs’ Motion should be denied.

D.       The balance of hardships favors Naperville and Illinois.

         Plaintiffs’ Motion should be denied because an immediate TRO would harm Defendants’

significant interest the safety of its citizens. Plaintiffs’ alleged harm is that LWI will go out of

business if it cannot sell assault weapons and that “the citizens of Naperville . . . will be unable to

purchase Banned Firearms in Naperville.” Decl. of Robert Bevis, at ¶ 5, Dkt. 10 at 19. Defendants’

purpose, on the other hand, is to ensure public safety and to protect its citizens from mass

shootings. Any balance of these interests favors Defendants.

         Defendants have a compelling interest in regulating assault weapons to protect its citizens.

Assault weapons account for four of the five deadliest mass shootings in U.S. history, killing 164

people in total. 14 When an assault weapon is used in a mass shooting, nearly 14 times as many

people are injured, and twice as many people are killed. 15 Courts of Appeals across the country

repeatedly have observed these weapons’ deadly nature. See, e.g., N.Y. State Rifle & Pistol Ass'n,

804 F.3d at 262; see also Kolbe, 849 F.3d at 139; see also Friedman, 784 F.3d 406 (“[A]ssault

weapons with large-capacity magazines can fire more shots, faster, and thus can be more dangerous



14 Defendants point to the Las Vegas Strip massacre; Orlando nightclub massacre; Sandy Hook Elementary massacre;
and the Texas First Baptist Church massacre. See Weapon Types Used in Mass Shootings in the United States Between
1982 and October 2022, by Number of Weapons and Incidents, Statista (Oct. 18, 2022),
https://www.statista.com/statistics/476409/mass-shootings-in-the-us-by-weapon-types-used/.
15 The Effects of Bans on the Sale of Assault Weapons and High-Capacity Magazines, RAND Corp. (Apr. 22, 2020),
https://www.rand.org/research/gun-policy/analysis/ban-assault-weapons.html


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in aggregate. Why else are they the weapons of choice in mass shootings?”).

       Because of the unique threats assault weapons pose to public safety, state and local

governments are afforded great deference to regulate them Friedman, 784 F.3d at 410 (“[S]tates,

which are in charge of militias, should be allowed to decide when civilians can possess military-

grade firearms . . . .”). Plaintiffs’ alleged harm, on the other hand, is severely outweighed by

Defendants’ and the public’s interest in regulating the sale of these dangerous weapons under the

City’s inherent home-rule authority. As explained above, Plaintiffs have no constitutional right to

sell (or own) an assault weapon, and therefore no constitutional injury. The Naperville Ordinance

and HB5471 also do not restrict the right of people to keep or bear arms for self-defense. LWI’s

conclusory statement that it will “go out of business,” with no information about potential lost

sales or profits, does not make a “clear showing” that it will be harmed in a manner that outweighs

the public’s clear interest in protection. The balancing of harms strongly favors Defendants, and

Plaintiffs’ request for injunctive relief should be denied.

                                          CONCLUSION

       For the reasons stated above, the Court should deny Plaintiffs’ Motion.



 Dated: January 30, 2023                                Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that in accordance with Federal Rule of Civil Procedure

5 and Local Rule 5.5, the following document was served on January 30, 2023 through the district

court’s ECF system to the following counsel of record:



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                                                    /s/ Christopher B. Wilson
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